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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    BENJAMIN D. GALLOWAY, #214897
     Assistant Federal Defender
3    801 “I” Street, 3rd Floor
     Sacramento, CA 95814
4
     Attorney for Defendant
5    TIANA NAPLES
6
7                             IN THE UNITED STATES DISTRCIT COURT
8                          FOR THE EASTERN DISTRCIT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                    )   NO. 2:14-CR-00022 JAM
                                                  )
11                         Plaintiff,             )   STIPULATION AND ORDER
                                                  )   TO CONTINUE STATUS CONFERENCE
12           v.                                   )
                                                  )
13   MARCUS A. COOPER, et al.,                    )   DATE: November 18, 2014
                                                  )   TIME: 9:30 a.m.
14                         Defendants.            )   JUDGE: Hon. John A. Mendez
                                                  )
15                                                )
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             It is hereby stipulated and agreed to between the United States of America through its
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     counsel MATTHEW MORRIS, Assistant U.S. Attorney; defendant TIANA NAPLES by and
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     through her counsel, BENJAMIN GALLOWAY; defendant MARCUS COOPER by and through
19
     his counsel CANDICE FIELDS and defendant LETICIA ROQUE by and through her counsel,
20
     TASHA P. CHALFANT that the status conference set for Tuesday, September 30, 2014 be
21
     continued to Tuesday, November 18, 2014 at 9:30 a.m.         The parties stipulate that the ends of
22
     justice are served by the Court excluding such time, so that counsel for the defendant may have
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     reasonable time necessary for effective preparation, taking into account the exercise of due
24
     diligence. 18 U.S.C. §3161(h)(7)(A) and (B)(iv) [reasonable time to prepare] and Local Code T-
25
     4.
26
             Specifically, defense counsel needs additional time to investigate the facts of the case and
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     review discovery with their clients. The parties stipulate and agree that the interests of justice
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1    served by granting this continuance outweigh the best interests of the public and the defendant in
2    a speedy trial. 18 U.S.C. § 3161 (h)(7)(A) and (B)(iv) [reasonable time for counsel to prepare]
3    (Local Code T4).
4    Dated: September 26, 2014
                                                          Respectfully submitted,
5
                                                          HEATHER E. WILLIAMS
6                                                         Federal Defender
7                                                         /s/ Benjamin Galloway
                                                          BENJAMIN GALLOWAY
8                                                         Assistant Federal Defender
                                                          Attorney for Defendant
9                                                         TIANA NAPLES
10
     Dated: September 26, 2014                            /s/ Tasha P. Chalfant
11                                                        TASHA P. CHALFANT
                                                          Attorney for Defendant
12                                                        LETICIA A. ROQUE
13
14   Dated: September 26, 2014                            /s/ Candice Fields
                                                          CANDICE FIELDS
15                                                        Attorney for Defendant
                                                          MARCUS COOPER
16
17
18   Dated: September 26, 2014                            /s/ Matthew Morris
                                                          MATTHEW MORRIS
19                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff
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                                                    -2-                US v. Cooper, et al., 2:14-CR-00022 JAM
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1                                                ORDER
2           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
3    status conference presently set for September 30, 2014, be continued to November 18, 2014, at
4    9:30 a.m. Based on the representation of counsel and good cause appearing therefrom, the Court
5    hereby finds that the ends of justice to be served by granting a continuance outweigh the best
6    interests of the public and the defendant in a speedy trial. It is ordered that time from September
7    26, 2014, to and including, November 18, 2014, the status conference shall be excluded from
8    computation of time within which the trial of this matter must be commenced under the Speedy
9    Trial Act pursuant to 18 U.S.C. § 3161 (h)(7)(A) and (B)(iv) [reasonable time for counsel to
10   prepare] (Local Code T4).
11   IT IS SO ORDERED.
12
     Dated: September 26, 2014
13                                                         /s/ John A. Mendez_____________
                                                           Hon. John A. Mendez
14                                                         United States District Court Judge
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                                                     -3-               US v. Cooper, et al., 2:14-CR-00022 JAM
